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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA

IN RE: GRANULATED SUGAR               MDL No. 24-3110 (JWB/DTS)
ANTITRUST LITIGATION


This Document Relates To:             DIRECT PURCHASER PLAINTIFFS’
                                      SHORT-FORM CONSOLIDATED
ALL DIRECT PURCHASER ACTIONS          CLASS ACTION COMPLAINT

Member Case Nos.:                     JURY TRIAL DEMANDED

0:24-cv-02346 (D. Minn.)
0:24-cv-02234 (D. Minn.)
0:24-cv-01414 (D. Minn.)
0:24-cv-02347 (D. Minn.)
0:24-cv-02233 (D. Minn.)
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I.     INTRODUCTION

       Pursuant to Pretrial Order No. 7 (ECF No. 315) (“PTO 7”), Direct Purchaser

Plaintiffs KPH Healthcare Services, Inc.; Northern Frozen Foods, Inc. d/b/a Northern

Haserot; Wakefern Food Corp.; Redner’s Markets, Inc.; and C.A. Curtze Co. (collectively

the “DPPs” or “Direct Purchasers”), individually and on behalf of all others similarly

situated (the “Class,” or “Class Members” as defined below), upon personal knowledge as

to the facts pertaining to themselves, and upon information and belief as to all other matters,

submit this Short-Form Consolidated Class Action Complaint (“SFC”) against Defendants

ASR Group International, Inc. (“ASR Group”); American Sugar Refining, Inc. (“ASR”);

Domino Foods, Inc. (“Domino,” together with ASR Group and ASR, “ASR/Domino”);

Imperial Sugar Co. n/k/a United States Sugar Savannah Refinery, LLC (“Imperial” or “U.S.

Sugar Savannah”); Louis Dreyfus Company LLC (“Louis Dreyfus”); Michigan Sugar

Company (“Michigan Sugar”); United Sugar Producers & Refiners f/k/a United Sugars

Corporation (“United,” together with ASR/Domino, Imperial, Louis Dreyfus, and

Michigan    Sugar,    the   “Producer    Defendants”);     Commodity      Information,     Inc.

(“Commodity”); and Richard Wistisen (“Wistisen,” together with Commodity,

“Commodity Defendants,” and together with the Producer Defendants, “Defendants”), for

violations of Section 1 and 3 of the Sherman Antitrust Act of 1890, 15 U.S.C. §§ 1, 3.

II.    RELEVANT BACKGROUND

       In PTO No. 7, the Court instructed the three Plaintiff subgroups—(i) the DPPs,

(ii) the Commercial Indirect Purchaser Plaintiffs, and (iii) the Consumer Indirect Purchaser

Plaintiffs—to submit a Master Consolidated Complaint (“MCC”) setting forth all factual

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allegations and shared causes of action that are common across the subgroups. ECF No.

315. On February 27, 2025, the Plaintiff subgroups timely filed the MCC. ECF No. 332.

PTO No. 7 also instructed the three Plaintiff subgroups to each submit Short-Form

Complaints and identify “any class specific claims . . . and specify any unique relief

sought . . . .”). PTO No. 7 ¶ 2.

III.    NATURE OF THE ACTION, JURISDICTION, VENUE, AND COMMERCE

        1.    The DPPs incorporate by reference the Nature of the Action, Jurisdiction,

Venue, and Commerce allegations set forth in the MCC. See ECF No. 332 ¶¶ 1–13 (Nature

of the Action); ¶¶ 43–49 (Jurisdiction, Venue, and Commerce).

IV.     PARTIES

        2.    The DPPs incorporate by reference the five Direct Purchaser entities

identified in the MCC. Id. ¶ 14.

        3.    Plaintiff KPH Healthcare Services, Inc. (“KPH”) is a New York corporation

with its principal place of business located in Gouverneur, New York. KPH purchased

Granulated Sugar directly from one or more of the Producer Defendants that was sold at

prices artificially inflated by one or more of the Producer Defendants or their co-

conspirators during the Class Period. KPH has therefore suffered antitrust injury as a direct

result of the antitrust violations alleged in the MCC and this SFC.

        4.    Plaintiff Northern Frozen Foods, Inc. (“Northern”) is a privately owned Ohio

corporation with its principal place of business located in Cleveland, Ohio. Northern

purchased Granulated Sugar directly from one or more of the Producer Defendants that

was sold at prices artificially inflated by one or more of the Producer Defendants or their

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co-conspirators during the Class Period. Northern has therefore suffered antitrust injury as

a direct result of the antitrust violations alleged in the MCC and this SFC.

       5.     Plaintiff Wakefern Food Corp. (“Wakefern”) is the largest retailer-owned

cooperative in the United States, comprising member companies that independently own

and operate more than 350 retail supermarkets that operate under, among other trademarks

owned by Wakefern, the ShopRite® trademark, and has its principal place of business in

Keasbey, New Jersey. Wakefern purchased Granulated Sugar directly from one or more of

the Producer Defendants that was sold at prices artificially inflated by one or more of the

Producer Defendants or their co-conspirators during the Class Period. Wakefern has

therefore suffered antitrust injury as a direct result of the antitrust violations alleged in the

MCC and this SFC.

       6.     Plaintiff Redner’s Markets, Inc. (“Redner’s”) is a Pennsylvania corporation

with its principal place of business located in Reading, Pennsylvania. Redner’s purchased

Granulated Sugar directly from one or more of the Producer Defendants that was sold at

prices artificially inflated by one or more of the Producer Defendants or their co-

conspirators during the Class Period. Redner’s has therefore suffered antitrust injury as a

direct result of the antitrust violations alleged in the MCC and this SFC.

       7.     Plaintiff C.A. Curtze Co. (“Curtze”) is a Pennsylvania corporation with its

principal place of business located in Erie, Pennsylvania. Curtze purchased Granulated

Sugar directly from one or more of the Producer Defendants that was sold at prices

artificially inflated by one or more of the Producer Defendants or their co-conspirators



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during the Class Period. Curtze has therefore suffered antitrust injury as a direct result of

the antitrust violations alleged in the MCC and this SFC.

        8.    The DPPs incorporate by reference the Defendants, Agents, and Co-

conspirators identified in the MCC. Id. ¶¶ 17–42.

V.      FACTUAL ALLEGATIONS

        9.    The DPPs incorporate by reference the factual allegations set forth in the

MCC. Id. ¶¶ 50–222.

VI.     LIMITATIONS AND TOLLING

        10.   The DPPs incorporate by reference the Limitations and Tolling allegations

set forth in the MCC. Id. ¶¶ 223–229.

VII.    CLASS ALLEGATIONS

        11.   The DPPs bring this action on behalf of themselves and as a class action

under Federal Rules of Civil Procedure 23(a), (b)(2), and (b)(3).

        12.   In addition to the injunctive relief sought in the MCC, ECF No. 332 ¶¶ 236

and 245, the DPPs seek monetary damages, treble damages, cost of suit, and other relief

the Court finds just and proper pursuant to Sections 1 and 3 of the Sherman Act federal

antitrust laws on behalf of members of the following class:

              All persons and entities who purchased Granulated Sugar
              directly from any of the Producer Defendants or any of their
              co-conspirators in the United States and its territories at any
              time from January 1, 2019, until the present (the “Class
              Period”).

              Specifically excluded from this Class are Defendants; their
              officers, directors, or employees; any entity in which a
              Defendant has a controlling interest; any affiliate, legal

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              representative, heir, or assign of a Defendant; any federal,
              state, or local governmental entities; any judicial officers
              presiding over this action and members of their immediate
              family and staff; and any juror assigned to this action.

       13.    The DPPs reserve the right to amend this Class definition, including without

limitation, the Class Period.

       14.    Class Identity. The above-defined Class Members are readily identifiable

from information and records in the possession of United, ASR/Domino, Michigan Sugar,

Louis Dreyfus, and/or Imperial.

       15.    Numerosity. The DPPs do not know the exact number of Class Members

because such information is presently under exclusive control of the Producer Defendants.

The DPPs believe that due to the nature of the trade and commerce involved, there are

hundreds of Class Members geographically dispersed throughout the United States, such

that joinder of all Class Members would be impracticable.

       16.    Typicality. The DPPs’ claims are typical of the claims of the members of the

Class because the DPPs purchased Granulated Sugar directly from one or more of the

Producer Defendants and were damaged by the same common course of wrongful conduct.

       17.    Predominance of Common Questions. There are questions of law and fact

common to the Class which predominate over any questions affecting only individual Class

Members, including, but not limited to:

              a.     Whether Defendants and their co-conspirators engaged in a contract,

                     combination, or conspiracy to raise, fix, maintain, or stabilize prices




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                     of Granulated Sugar sold in interstate commerce in the United States

                     in violation of federal antitrust laws;

              b.     Whether Defendants agreed to unreasonably restrain trade in violation

                     of federal antitrust laws;

              c.     The identity of the participants of the alleged conspiracy;

              d.     The scope and duration of the alleged conspiracy;

              e.     The acts performed by Defendants and their co-conspirators in

                     furtherance of the alleged conspiracy;

              f.     The effect of Defendants’ alleged conspiracy on the prices of

                     Granulated Sugar sold in the United States during the Class Period;

              g.     Whether the conduct of Defendants and their co-conspirators caused

                     injury to the business or property of the DPPs and other members of

                     the Class;

              h.     Whether the DPPs are entitled to injunctive relief under Section 3 of

                     the Sherman Act;

              i.     The appropriate class-wide measure of damages; and

              j.     Whether the statute of limitations was tolled or whether Defendants

                     fraudulently concealed the existence of their anticompetitive conduct

                     from the DPPs and the Class.

       18.    Adequacy. The DPPs will fairly and adequately protect the interests of the

Class in that the DPPs’ interests are aligned with, and not antagonistic to, those of other

members of the Class and the DPPs have retained counsel competent and experienced in

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the prosecution of class actions and antitrust litigation to represent themselves and the

Class.

         19.   Superiority. A class action is superior to other available methods for the fair

and efficient adjudication of this controversy since individual joinder of all members of the

Class is impractical and Class Members do not have interests in individually controlling

the prosecution of separate actions. Prosecution as a class action will eliminate the

possibility of duplicative litigation. The damages suffered by individual members of the

Class compared to the expense and burden of individual prosecution of the claims asserted

in this litigation means that, absent a class action, it would not be feasible for members of

the Class to seek redress for the violations of law herein alleged. Furthermore, individual

litigation presents the potential for inconsistent or contradictory judgments and the

establishment of incompatible standards of conduct for Defendants and would greatly

magnify the delay and expense to all parties and to the court system. Therefore, a class

action presents far fewer case management difficulties and will provide the benefits of

unitary adjudication, economies of scale, and comprehensive supervision by a single court.

         20.   Injunctive Relief. Defendants have acted on grounds generally applicable to

the DPPs and Class Members, thereby making final injunctive relief appropriate with

respect to the Class as a whole.

VIII. CLAIMS FOR RELIEF

         21.   The DPPs and Class Members incorporate and re-allege, as though fully set

forth herein, each and every allegation set forth in the preceding paragraphs of this SFC,

and the allegations in the MCC that are incorporated by reference.

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       22.    The DPPs and Class Members incorporate by reference Count I and Count II

of the MCC into the SFC. See ECF No. 332 ¶¶ 230–245.

       23.    Additionally, under the Sherman Act, the DPPs and Class Members are also

entitled to monetary damages, treble damages, and the costs of suit.

IX.    PRAYER FOR RELIEF

       24.    The DPPs and Class Members incorporate by reference the Prayer for Relief

in the MCC. ECF No. 332 § VII.

       25.    Additionally, the DPPs and Class Members respectfully request judgment

against Defendants, as follows:

       A.     That the Court determine that this action may be maintained as a class action

under Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, appoint the

DPPs as Class Representatives and their counsel of record as Class Counsel, and direct that

notice of this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure,

be given to the Class once certified;

       B.     That the DPPs and the Class recover damages to the maximum extent

allowed under federal law, and that joint and several judgment in their favor be entered

against Defendants in an amount to be trebled to the extent such laws permit; and

       C.     That the DPPs and the Class be awarded pre- and post- judgment interest as

provided by law, and that such interest be awarded at the highest legal rate from and after

the date of service of this Complaint.




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X.     DEMAND FOR JURY TRIAL

       26.    The DPPs, on behalf of themselves and all other similarly situated, hereby

request a jury trial, pursuant to Federal Rule of Civil Procedure 38(b), on any and all claims

so triable.

Dated: March 14, 2025                      Respectfully submitted,

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